37 F.3d 1497NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff Appellee,v.Ernest Curry PICKARD, Defendant Appellant.
    No. 93-7120.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 26, 1994.Decided Oct. 17, 1994.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Frank W. Bullock, Jr., Chief District Judge.  (CR-91-56, CA-93-747)
      Ernest Curry Pickard, Appellant Pro Se.
      Harry L. Hobgood, Assistant United States Attorney, Greensboro, NC, for Appellee.
      M.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and WILKINSON and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Pickard, Nos.  CR-91-56;  CA-93-747 (M.D.N.C. Sept. 8, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    